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                                  8                       UNITED STATES DISTRICT COURT
                                  9       CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                 10
                                 11 Amy R. Weissbrod, US Patentee,               Case No. 2:23-cv-04381-MEMF-E
                                    Plaintiff California State Bar #87419,
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                                 12                                              DEFENDANT HINSHAW &
                                                  Plaintiff,                     CULBERTSON, LLP'S MOTION
                                 13                                              TO DISMISS PURSUANT TO CR
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                                           v.                                    12(b)(6)
                                 14
                                    LIVE NATION ENTERTAINMENT
                                 15 INC., TICKETMASTER, INC., LIVE               Hearing Date:   October 12, 2023
                                    NATION, INC., INSTANT LIVE                   Time:           10:00 a.m.
                                 16 CONCERTS, LLC, MLB/MLB                       Judge: Hon. Maame Ewusi-Mensah
                                    ADVANCED MEDIA, INC.,                        Courtroom:      8B
                                 17 PHISH/PHISH LIVE, COWAN
                                    LIEBOWITZ & LATMAN, PC,
                                 18 HINSHAW & CULBERTSON, LLP,
                                    BAKER BOTTS, LLP, Does I-X,
                                 19
                                                  Defendants.
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                                                                                               Case No. 2:23-cv-04381-MEMF-E
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                                  1 I.      INTRODUCTION
                                  2         In 2006, Plaintiff, Amy R. Weissbrod (A.K.A. Amy R. Gurvey; A.K.A. Amy
                                  3 R. Weissbrod-Gurvey) started a crusade of vexatious, abusive litigation that
                                  4 continues to this day. Since then, Weissbrod, a trained lawyer, has had her license
                                  5 suspended due to her pattern of vexatious and abusive litigation behavior. She is
                                  6 also now subject to pre-filing orders in at least four courts.
                                  7         The substance of Weissbrod's claims, which are generally lengthy,
                                  8 duplicative, and confusing to read, is that various actors—including various law
                                  9 firms, the largest entertainment companies in the world, the New York state attorney
                                 10 discipline system, and the federal judiciary—have conspired to against her to
                                 11 facilitate the expropriation of certain valuable patents. To date, Weissbrod has filed
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                                 12 at least 9 suits alleging these claims, and she has lost each one. There is some
                                 13 variance in the targets of Weissbrod's suits, however, there are also mainstays; these
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                                 14 include the firm Cowan Liebowitz & Latman, PC—which previously employed
                                 15 Weissbrod—as well as Cowan's defense counsel, Hinshaw & Culbertson, LLP
                                 16 ("Hinshaw"). The instant suit names both as defendants, and reasserts the same tired
                                 17 claims that numerous other state and federal courts have repeatedly dismissed.
                                 18 Weissbrod's claims are barred by the applicable statute of limitations, and this
                                 19 complaint is nothing more than Weissbrod's shopping for another forum that might
                                 20 be receptive to her allegations.
                                 21         Therefore, Hinshaw moves this Court to dismiss this baseless complaint under
                                 22 Federal Rules of Civil Procedure, rule 12(b)(6) on the grounds that the complaint is
                                 23 barred by the doctrine of res judicata.
                                 24         Hinshaw further moves this Court for an Order enjoining Weissbrod from
                                 25 filing new litigation against Hinshaw arising out of Hinshaw's representation of the
                                 26 Cowan firm. Dismissal and injunction is the only way to prevent Weissbrod from
                                 27 further perverting the machinery of justice to her own vexatious ends.
                                 28

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                                  1 II.      STATEMENT OF FACTS
                                  2          Weissbrod's litigation tirade arises out of her previous employment with
                                  3 Cowan Liebowitz. Weissbrod alleges that, in 2002, she was hired into an "of
                                  4 counsel" position at Cowan, who also agreed to represent Weissbrod before the U.S.
                                  5 Patent and Trademark Office ("USPTO") with regard to various patents she claimed
                                  6 to be developing. Weissbrod was fired by Cowan a few months into her
                                  7 employment. In reality, Cowan never agreed to do anything more than prepare the
                                  8 applications for Weissbrod as a courtesy of her employment.
                                  9          In 2004, Weissbrod filed a series of ethics complaints against the Cowan firm.
                                 10 In 2006, she sued Cowan for, among other things, legal malpractice arising out of
                                 11 the patent matters ("Cowan I")—Weissbrod claimed that Cowan stopped assisting
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                                 12 her when her employment was terminated. Weissbrod's antics in that litigation
                                 13 eventually caused the Second Circuit to enter a pre-filing order against her.
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                                 14          In 2011, Weissbrod was prosecuted and suspended from the practice of law in
                                 15 New York state due to a pattern of vexatious litigation in a matter unrelated to this
                                 16 litigation.
                                 17          In general, Weissbrod's campaign of litigation arises directly out of her
                                 18 displeasure with the rulings in Cowan I and her disciplinary proceeding.
                                 19                 1.    Gurvey v. Cowan Liebowitz, 06-cv-01202 (S.D.N.Y.) (Cowan I)
                                 20
                                             On February 15, 2006, Weissbrod, then known as Amy R. Gurvey, filed a
                                 21
                                      complaint against Cowan, alleging that, among other things, Cowan engaged in
                                 22
                                      legal malpractice and expropriated a certain idea that Weissbrod was seeking to
                                 23
                                      patent. (See Gurvey v. Cowan, Liebowitz (SDNY) 06 cv 01202). Hinshaw's Richard
                                 24
                                      Supple defended Cowan and the Cowan attorneys in that action. (Exhibit ("Ex.") 1.)
                                 25
                                             On April 23, 2009, the court granted a motion by Cowan to dismiss
                                 26
                                      Weissbrod's complaint in its entirety. Gurvey v. Cowan, Liebowitz & Latman,
                                 27
                                      P.C., 2009 U.S.Dist.LEXIS 34839, at *1 (S.D.N.Y. Apr. 23, 2009).
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                                  1        On February 10, 2012, the Second Circuit Court of Appeals affirmed the
                                  2 dismissal of most of Weissbrod's claims, but found that her malpractice and breach
                                  3 of fiduciary duty claims could proceed. Gurvey v. Cowan, Liebowitz & Latman,
                                  4 P.C., 462 F.App'x 26, 30 (2d Cir. 2012).
                                  5        On May 12, 2014, Weissbrod filed a motion to disqualify Hinshaw as counsel
                                  6 for Cowan, on the grounds that two Hinshaw attorneys—Richard Supple and Hal
                                  7 Lieberman—were committee members of an attorney Disciplinary Committee that,
                                  8 in 2011, "unlawfully whitewashed" Weissbrod's patent grievances against the
                                  9 Cowan defendants. (Ex. 49 at 2-3.) Weissbrod's argument was meritless, because,
                                 10 while both Supple and Lieberman had previously worked for the attorney Discipline
                                 11 Committee, each had left the Committee's employ no later than 1999. (Ex. 51.)
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                                 12 Accordingly, the court denied Weissbrod's motion on November 20, 2014. (Ex. 12
                                 13 at dkt #233.)
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                                 14        On September 17, 2015, the district court entered an order: 1) finding that
                                 15 Weissbrod had filed several frivolous motions in the matter, in violation of FRCP
                                 16 rules 11; and 2) staying the proceed until Weissbrod paid $10,000 in sanctions. (Ex.
                                 17 50.)
                                 18        On July 6, 2017—more than ten years after the start of the litigation—the
                                 19 district court granted Cowan's motion for summary judgment on all remaining
                                 20 claims and denied Weissbrod's cross-motions. (Ex. 23.) The court found that
                                 21 Weissbrod's claims were time barred, and that Weissbrod had proffered insufficient
                                 22 evidence from which a reasonable jury could find in her favor on either claim. (Ex.
                                 23 23 at 8.)
                                 24        On July 7, 2017, the district court entered an order mandating that Weissbrod
                                 25 "shall not call or contact Chambers directly, but instead shall communicate with the
                                 26 Court solely through the Pro Se Office." (Ex. 24.)
                                 27        On September 5, 2017, Weissbrod appealed to the Second Circuit from all
                                 28 "final and interlocutory orders of the Southern District of NY" entered since

                                                                             3                 Case No. 2:23-cv-04381-MEMF-E
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                                  1 February 10, 2012. (Ex. 25.) This appeal later came to encompass the district court's
                                  2 summary judgment order in favor of Cowan as well as the court's denial of
                                  3 Weissbrod's motion for reconsideration. On December 4, 2018, the Second Circuit
                                  4 affirmed the district court, on the grounds that Weissbrod's complaint was time-
                                  5 barred and that the filing of an amendment would be futile. (Ex. 36.)
                                  6           On January 18, 2019, the Second Circuit denied en banc Weissbrod's motion
                                  7 for a re-hearing. (Ex. 37.)
                                  8           On October 7, 2019, the United States Supreme Court denied Weissbrod's
                                  9 petition for certiorari review of the Second Circuit's decision affirming the district
                                 10 court. (Ex. 41.)
                                 11           On March 19, 2020, Weissbrod filed a motion in the Federal Circuit for a writ
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                                 12 of mandamus that would have reconsideration of all Orders in the litigation. (Ex.
                                 13 42.) On June 23, 2020, the Federal Circuit transferred the matter back to the Second
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                                 14 Circuit, who again dismissed Weissbrod's appeal. (Ex. 44.)
                                 15           On January 6, 2022, Weissbrod again appealed to the Federal Circuit for
                                 16 reconsideration of the Southern District's orders. (Ex. 12 at dkt #440)
                                 17           On March 17, 2022, Following the dismissal of her appeal, Weissbrod moved
                                 18 for reconsideration of the Second Circuit's prior order denying her motion for
                                 19 reconsideration. The Second Circuit denied reconsideration on the grounds that
                                 20 "there is no basis for requesting reconsideration ad infinitum." (Ex. 12 at dkt #446.)
                                 21 The Second Circuit also imposed a pre-filing injunction, which it had been
                                 22 "reluctant" to do. (Id.)
                                 23           On April 6, 2022, Weissbrod again moved the Second Circuit for manadamus
                                 24 review, and an order that would vacate "all orders entered by the SDNY and vacate
                                 25 the Second Circuit mandate entered [on April 6, 2021]."1 (Ex. 52.) The Second
                                 26 Circuit dismissed the appeal for Weissbrod's failure to pay the proper filing fee.
                                 27
                                 28   1
                                          The mandate dismissed yet another of Weissbrod's appeals. (Ex. 52 at Exhibit 1.)
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                                 1 Weissbrod repeatedly moved for reconsideration, which the Court also denied. (Ex.
                                 2 48 at dkt ##1, 14, 31, 44.)
                                 3         On June 5, 2023, Weissbrod filed in the Federal Circuit a petition for a writ of
                                 4 mandamus to "disqualif[y]" the magistrate and district court judge, vacate the
                                 5 district court's orders "retroactive to 2012," and direct that her case be transferred.
                                 6 (Ex. 12 at dkt #453.) The court denied the petition on August 16, 2023. (Ex. 12 at
                                 7 dkt #454.)
                                 8                2.    In re Gurvey (NYS Disciplinary Proceeding)
                                 9
                                           On June 22, 2011, the New York State Attorney Grievance Committee, First
                                10
                                     Judicial Department, (then called the Departmental Disciplinary Committee “DDC”)
                                11
                                     held a hearing on disciplinary charges stemming from Weissbrod's ten years of pro
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                                12
                                     se litigation in a matter wherein she alleged she was fraudulently induced to vacate
                                13
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                                     her federally-subsidized apartment. (Ex. 2 at p.2). Per the later opinion and order of
                                14
                                     the Appellate Division of the Supreme Court for the First Judicial Department,
                                15
                                     Weissbrod's conduct during that ten-year litigation was "indicative of harassment
                                16
                                     and abuse of judicial process;" "mean spirited and vexatious;" an "inappropriate use
                                17
                                     of the courts;" and resulted "in needless expense in the defense of a frivolous
                                18
                                     lawsuit." The Appellate Division also noted that Weissbrod's "years of vituperative
                                19
                                     litigation," "frivolous motion practice," and "intentional misrepresentations to the
                                20
                                     court" in that ten-year litigation had led to numerous sanctions orders, totaling
                                21
                                     $8,783 that Weissbrod failed to pay. (Ex. 3 at pp.2-3.) Ultimately, the Appellate
                                22
                                     Division suspended Weissbrod for six months and conditioned her reinstatement on
                                23
                                     the payment of the sanctions entered against her. (Ex. 3.) Weissbrod remains
                                24
                                     suspended to this day. (Ex. 4.)
                                25
                                           Weissbrod appealed her suspension to the New York Court of Appeals—New
                                26
                                     York State's highest court—on constitutional grounds; but, the court dismissed the
                                27
                                     appeal on the grounds that no substantial constitutional question was directly
                                28

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                                 1 involved. (Ex. 6.) Weissbrod moved for reconsideration; the Court denied the
                                 2 motion. (Ex. 12.)
                                 3          On December 12, 2015, Weissbrod moved in her disciplinary proceeding in
                                 4 New York State's First Department for an order that would: 1) vacate the December
                                 5 4, 2012 order suspending her; 2) direct that a retraction order be published in a legal
                                 6 publication; and 3) compelling the Disciplinary Committee to make certain files
                                 7 available to her. (Ex. 16.) Hinshaw submitted an affirmation in opposition to
                                 8 Weissbrod's motion. (Ex. 16.) On April 21, 2016, the Appellate Division, First
                                 9 Department denied Weissbrod's motion motion and “further directed, sua sponte,
                                10 that the Clerk of the Court not accept further filings from the respondent without
                                11 leave of this Court.” (Ex. 16.) Weissbrod moved for leave to amend, but her motion
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                                12 was denied for failure to establish timeliness, as required by section 500.22(b)(2) of
                                13 the Rule of Practice of the Court of Appeals (22 NYCRR 500.22[b][2]). (Ex. 17.)
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                                14 Weissbrod moved for reconsideration of the dismissal order, which the court also
                                15 denied.
                                16          On February 15, 2018, the First Department denied a motion by Weissbrod
                                17 and again ordered that "[n]o further filings accepted from petitioner without prior
                                18 leave of this Court." (Ex. 28.)
                                19                 3.    Weissbrod v. Dopico et al. (New York state court)
                                20
                                            On September 21, 2011, after the hearing before the DDC, but before the First
                                21
                                     Judicial Department issued its decision to suspend Weissbrod, she filed an Article
                                22
                                     782 proceeding in New York County Supreme Court entitled Weissbrod v. Dopico,
                                23
                                     et al., Index No. 110774/11, asserting that the Chief Counsel for the DDC, as well as
                                24
                                     other officers and members of the DDC, violated her Due Process and Equal
                                25
                                26
                                     2
                                27  Article 78 refers to Article 78 of the New York Civil Practice Laws and Rules,
                                   which authorizes courts to review a decision or action of a New York State body or
                                28 officer.

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                                 1 Protection rights under the Fourteenth Amendment and the New York State
                                 2 Constitution and her civil rights pursuant to 42 U.S.C. §1983 in connection with the
                                 3 hearing that led to her suspension. (Ex. 5.)
                                 4         On November 17, 2011, the court dismissed Weissbrod's Article 78
                                 5 proceeding on the basis of sovereign immunity. (Ex. 2.)
                                 6                4.     Weissbrod v. Gonzalez, et al., 1:13-cv-02565 (S.D.N.Y.)
                                 7
                                           On April 18, 2013, Weissbrod filed a complaint in the United States District
                                 8
                                     Court, Southern District of New York, against the members of the DDC that she
                                 9
                                     named as respondents in the Dopico Article 78 Petition, as well as the Hon. Luis
                                10
                                     Gonzalez, who was identified as the Presiding Justice in the written decision
                                11
                                     imposing plaintiff’s suspension. (Ex. 7.) In that action, entitled Weissbrod v.
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                                12
                                     Gonzalez, et al., Weissbrod sought an order setting aside the decision suspending
                                13
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                                     her and on the grounds that the defendants therein violated her constitutional rights
                                14
                                     by fraudulently fabricating disciplinary violations.
                                15
                                           On May 2, 2013, the court issued a decision, sua sponte, dismissing
                                16
                                     Weissbrod's claims in their entirety pursuant to the Eleventh Amendment and the
                                17
                                     Rooker-Feldman doctrine; the court also found that the defendants therein were
                                18
                                     entitled to absolute judicial and quasi-judicial immunity. (Ex. 8.) Weissbrod moved
                                19
                                     for reconsideration, but the court denied her motion. (Ex. 9.) Weissbrod then
                                20
                                     appealed the dismissal to the Second Circuit, who also affirmed the District Court's
                                21
                                     dismissal. (Exs. 10 and 11.)
                                22
                                                  5.     Gurvey v. State of New York, et al. (NYS Index No. 100163-15)
                                23
                                           On January 30, 2015, Weissbrod filed an action titled Gurvey v. State of New
                                24
                                     York, et al., Index No. 100163/2015. There, Weissbrod again claimed her civil rights
                                25
                                     were violated because of her suspension, and claimed that Supple and Hinshaw had
                                26
                                     perpetrated a series of frauds on the court, in both the Cowan I litigation and in
                                27
                                     Weissbrod's disciplinary hearing. (Ex. 13.)
                                28

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                                 1            On August 29, 2016, Justice Gerald Lebovitz entered a decision dismissing
                                 2 Weissbrod's claims against all parties and entering a pre-filing order that required
                                 3 Weissbrod to obtain leave of court prior to filing any additional actions against
                                 4 Hinshaw and/or Supple. (Ex. 18.)3 Weissbrod tried to appeal the decision to the New
                                 5 York Court of Appeals, but the court denied the appeal on the grounds that the
                                 6 matter did not concern the constitutional validity of a statutory provision. (Ex. 20.)
                                 7            On May 26, 2017, the court entered a filing injunction against Weissbrod with
                                 8 regard to the remaining state defendants. (Ex. 21.)
                                 9            On July 6, 2017, the First Department, Appellate Division denied a motion by
                                10 Weissbrod that would have "direct[ed] this Court to permit the filing and service of
                                11 her amended complaint and motion to renew and reargue, for a stay, and for other
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                                12 relief."4 (Ex. 22.)
                                13            On November 16, 2017, the First Department, Appellate Division denied a
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                                14 motion by Weissbrod to transfer her appeal to the Third Department Appellate
                                15
                                16   3
                                         The Court's order states:
                                17
                                              The request for an injunction against filing claims without leave of court
                                18            is granted. (See Dimery v Ulster Sav. Bank, 82 AD3d 1034, 1035 [2d
                                              Dept] [observing that record reflects that the plaintiff abused the judicial
                                19
                                              process through vexatious litigation and that it was proper for the
                                20            Supreme Court to enjoin the plaintiff from bringing any further motions
                                              regarding the subject matter of the instant action without its permission],
                                21
                                              appeal dismissed 17 NY3d 774 [2011]; see also Matter of Marion C.W.
                                22            [LisaK], 135 AD3d 777, 779-780 [2d Dept 2016] ["[C]ourt properly
                                              determined that the petitioners forfeited the right to free access to the
                                23
                                              courts by abusing the judicial process with repeated motions seeking to
                                24            relitigate matters previously decided against them, and, therefore,
                                              required them to obtain leave of the court before filing further motions
                                25
                                              or commencing new proceedings regarding Marion C.W. or the trust."].)
                                26   4
                                     Due to the voluminous litigation record in that case, Counsel for Ms. Weissbrod
                                27 has been unable to determine the exact motion to which the Appellate Division
                                   refers. Nevertheless, the court's order is a reliable indicator that Weissbrod filed
                                28 such a motion.

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                                 1 Division. (Ex. 26.)
                                 2            On February 20, 2018, the Appellate Division denied a motion by Weissbrod
                                 3 for reconsideration of the court's order denying Weissbrod's motion to transfer her
                                 4 appeal to the Third Department, Appellate Division. (Ex. 29.)
                                 5            On June 12, 2018, the First Department, Appellate Division entered an order
                                 6 dismissing, on its own motion, Weissbrod's motion for leave to appeal the court's
                                 7 decision to the Court of Appeals. (Ex. 35.)
                                 8                   6.    Gurvey v. Cowan, Liebowitz II (NYS Index No. 101246-15)
                                 9
                                              On July 14, 2015, Weissbrod initiated an action entitled Gurvey v. Cowan,
                                10
                                     Liebowitz & Latman, P.C., et al, Index No. 101246/2015 (Sup. Ct., N.Y. Cty.). (Ex.
                                11
                                     14.) In that case, Weissbrod again claimed that Supple and Hinshaw had perpetrated
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                                12
                                     frauds on the court, attempted to steal her patents, and that Chief Counsel for the
                                13
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                                     DDC had "whitewash[ed]" her grievances against Cowan, Supple, and numerous
                                14
                                     others;5 Weissbrod also sought to disqualify Supple from representing the Cowan
                                15
                                     firm.6
                                16
                                              On February 4, 2016, Justice Michael Katz issued a decision denying
                                17
                                     Weissbrod's motion to disqualify Supple and imposing sanctions against her. (Ex.
                                18
                                     15.)
                                19
                                                     7.    Gurvey v. Acosta, et al. (New York state court)
                                20
                                              On January 23, 2018, the Appellate Division, First Department entered an
                                21
                                     order denying Weissbrod's attempt to prosecute an Article 78 proceeding against the
                                22
                                     Appellate Division, First Department’s presiding Justice, the Honorable Rolando T.
                                23
                                     Acosta. Weissbrod's proceeding sought to compel Judge Acosta to order the Chief
                                24
                                     Attorney of the First Department Attorney Grievance Committee to produce certain
                                25
                                26
                                27   5
                                         Ex. 19 at ¶ 4.
                                28   6
                                         Ex. 19 at ¶ 31.
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                                 1 documents to Weissbrod. The First Department transferred the proceeding to the
                                 2 Second Department for decision. (Ex. 27.)
                                 3        On April 11, 2018, the Appellate Division, Second Department denied a
                                 4 motion by Weissbrod to vacate all orders entered by the Appellate Division, First
                                 5 Department, since 2008 in proceedings involving the petitioner. (Ex. 31.) Weissbrod
                                 6 appealed the order, which was dismissed by the Court of Appeals. (Ex. 34.)
                                 7               8.    Weissbrod-Gurvey v. Hon. Jonathan Lippman, et al., 1:18-cv-
                                                       2006 (S.D.N.Y.)
                                 8
                                 9        On March 12, 2018, Weissbrod filed another civil rights lawsuit in the
                                10 Southern District of New York seeking damages against numerous defendants,
                                11 including Supple and Hinshaw, for, among other things, whitewashing her
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                                12 grievances against the Cowan firm in an effort to seek advantages in Cowan I. (Ex.
                                13 30.)
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                                14        On April 19, 2018, the Southern District entered an order to show cause as to
                                15 why her claims were not barred by res judicata, the Rooker-Feldman doctrine,
                                16 judicial immunity, quasi-judicial immunity and/or the Eleventh Amendment. (Ex.
                                17 32.)
                                18        On June 5, 2018, the district court entered an Order finding that Weissbrod
                                19 failed to show cause, dismissing Weissbrod's claims, and warning her “that further
                                20 frivolous litigation may result in the imposition of sanctions, including monetary
                                21 penalties and filing injunctions.” (Ex. 33.)
                                22       On June 12, 2018, Weissbrod appealed the order of dismissal to the United
                                23 States Court of Appeals for the Federal Circuit. (Ex. 38 at dkt 31.) Weissbrod then
                                24 filed a motion that the Federal Circuit construed as a motion to consolidate her
                                25 various appeals from orders of the Southern District of New York (Ex. 39 at dkt 96);
                                26 a motion to terminate her appeal through remand and to supplement her motion to
                                27 consolidate her appeals (Ex. 39 at dkt 102); and a motion to stay her appeal before
                                28 the Federal Circuit (Ex. 39 at dkt 112). On February 11, 2019, the Federal Circuit

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                                 1 denied each of Weissbrod's motion.
                                 2                9.      Weissbrod v. Hon. Elizabeth Garry, 1:19-cv-04739 (E.D.N.Y.)
                                 3
                                           On August 16, 2019, Weissbrod filed a lawsuit in the Federal District Court
                                 4
                                     for the Eastern District of New York against various members of the judiciary,
                                 5
                                     Supple, Hinshaw, and others. Weissbrod's complaint essentially repeated the same
                                 6
                                     allegations she had previously made against Supple and Hinshaw in numerous other
                                 7
                                     matters. (Ex. 40.)
                                 8
                                           On September 30, 2021, the district court dismissed Weissbrod's complaint on
                                 9
                                     res judicata grounds. The court also imposed a filing injunction based upon
                                10
                                     Weissbrod's history and pattern of vexatious litigation. (Ex. 45.)
                                11
                                           On December 27, 2021, Weissbrod moved to vacate the clerk's judgment and
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                                12
                                     replead her amended complaint post judgment. (Ex. 46. at dkt #75.) On January 11,
                                13
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                                     2022, the court denied the motion, holding that Weissbrod was "attempt[ing] to
                                14
                                     reframe theories already considered and rejected by the Court." (Id.)
                                15
                                           On March 9, 2022, Weissbrod filed a notice of Motion to Replead Post
                                16
                                     Judgment Amended Complaint and Motion to Vacate Orders. (Ex. 46 at dkt #77.)
                                17
                                     On April 8, 2022, Weissbrod filed a letter with the court seeking prior authorization
                                18
                                     to file a Motion to Vacate the various orders of the New York State courts. (Ex. 46
                                19
                                     at dkt #80.) On October 2, 2022, Weissbrod filed a letter seeking authorization to
                                20
                                     file a Motion for Discovery. (Ex. 46 at #81.) On October 14, 2022, the court
                                21
                                     dismissed each of these motions on the grounds that they "s[ought] to relitigate
                                22
                                     [Weissbrod's] claims that have already been resolved;" and that the motions were
                                23
                                     "[i]n direct contravention of this Court's memorandum and order dated September
                                24
                                     30, 2021." (Ex. 46 at dkt entry dated October 14, 2022.)
                                25
                                           On November 15 and 16, 2022, Weissbrod filed new letters requesting prior
                                26
                                     authorization to file various motions that sought to re-litigate previously decided
                                27
                                     issues.
                                28

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                                 1           On December 7, 2022, the court entered an order that: 1) denied Weissbrod's
                                 2 requests; 2) found that Weissbrod filed the letters "in direct contravention of the
                                 3 Court's memorandum and order dated September 30, 2021;" and 3) barred
                                 4 Weissbrod from filing "any document under this case number." (Ex. 46 at entry
                                 5 dated 12/07/2022.)
                                 6                  10.      Weissbrod v. Live Nation, et al., 2:23-cv-04381 (C.D. Cal.) (the
                                                             instant case)
                                 7
                                 8           On June 3, 2023, Weissbrod filed the complaint in the instant case.
                                 9 Weissbrod's complaint yet again attempts to relitigate the same matters that have
                                10 been repeatedly decided against her by courts of competent jurisdiction over the last
                                11 17 years. For example, Weissbrod alleges, among other things: that the continuation
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                                12 claims for her most recent patent "were sufficient to vacate any order or judgment
                                                           7
                                13 entered by the SDNY;" that she was "denied a hearing by the SDNY twice . . .
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                                14 [making it] clearer and clearer that Plaintiff was being denied constitutional access
                                                 8                                                          9
                                15 to the court;" that Supple and Hinshaw violated the federal RICO statute; that
                                                                                      10
                                16 various defendants conspired to steal her patents.
                                17 III.       ARGUMENT AND AUTHORITY
                                18           A.     Weissbrod's Claims are Time-Barred
                                19           Federal law requires that all civil claims be brought within a five-year "statute
                                20 of repose." 28 U.S.C. § 1658; York Cnty. v. HP, Inc., 65 F.4th 459, 463 (9th Cir.
                                                                                                    11
                                21 2023). California state law imposes a four year statute of repose for wrongful acts
                                22
                                23   7
                                         Complaint at ¶ 3.
                                24   8
                                         Complaint at ¶ 3.
                                25   9
                                         Complaint at ¶ 6.
                                26   10
                                          Complaint at ¶¶ 105-107.
                                     11
                                27   See Seaman v. Sedgwick, LLP (C.D.Cal. Jan. 26, 2012, No. SACV 11-664 DOC
                                   (RNBx)) 2012 U.S.Dist.LEXIS 9917, at *5 (referring to the four year rule as a
                                28 "statute of repose").

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                                 1 committed by an attorney, and a three-year statute of limitation for fraud. California
                                 2 Code of Civil Procedure § 340.6(a); California Code of Civil Procedure § 338(d).
                                 3 Here, Weissbrod's claims arise out of events that transpired from 2002-2004, and
                                 4 she's been making the same claims since 2006. As such, they are well beyond the
                                 5 applicable statutes of limitation and repose, and multiple other courts have already
                                 6 found them to be time-barred. See, e.g., Gurvey v. Cowan, Liebowitz & Latman,
                                 7 P.C., 462 F.App'x 26, 30 (2d Cir. 2012); Ex. 23 at 8. Therefore, as a threshold
                                 8 matter, Weissbrod's complaint must be dismissed.
                                 9         B.    Weissbrod's Complaint is Barred by Res Judicata
                                10         This Court should dismiss Weissbrod's claims under the doctrine of res
                                11 judicata. Federal Rules of Civil Procedure, rule 12(b)(6) provides for the dismissal
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                                12 of a case where the plaintiff "fail[s] to state a claim upon which relief can be
                                13 granted." A party may properly raise the issue of res judicata in a Rule 12(b)(6)
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                                14 motion to dismiss. See Intri-Plex Techs., Inc. v. Crest Grp., Inc., 499 F.3d 1048,
                                15 1052 (9th Cir. 2007). For res judicata to apply, there must be: (1) an identity of
                                16 claims, (2) a final judgment on the merits, and (3) identity of privity between
                                17 parties. Western Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir. 1997).
                                18         In ruling on the motion, the Court considers the pleadings, matters of which it
                                19 can take judicial notice and documents referenced in the complaint and upon which
                                20 the allegations rely. Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1160 (9th
                                21 Cir. 2012) ("where a document has been incorporated by reference in a complaint, a
                                22 court ‘may treat such a document as part of the complaint, and thus may assume that
                                23 its contents are true for purposes of a motion to dismiss under Rule 12(b)(6)"); In re
                                24 NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1058 n. 10 (9th Cir. 2014) (considering
                                25 entirety of declaration relied on in allegations of complaint).
                                26               1.     Identity of Claims
                                27         Identity of claims exists "when two suits arise from the same transactional
                                28 nucleus of facts." Tahoe-Sierra Preservation Counsel Inc., 322 F.3d at 1078. Even

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                                 1 "[n]ewly articulated claims based on the same nucleus of facts may still be subject
                                 2 to a res judicata finding if the claims could have been brought in the earlier
                                 3 action." Id.
                                 4           Here, Weissbrod's suit against Hinshaw and Supple inarguably arises from the
                                 5 same nucleus of facts as all her other suits over the years—the Cowan I litigation
                                 6 and her disciplinary proceeding. Weissbrod has lost on these claims time and again,
                                 7 before numerous courts, including multiple New York state courts, the S.D.N.Y., the
                                 8 E.D.N.Y., the Second Circuit, and the Federal Circuit. More, Weissbrod has been
                                 9 repeatedly sanctioned for re-litigating these claims in various courts. As a result,
                                10 Weissbrod is now subject to pre-filing orders in at least four courts, including the
                                11 New York County Supreme Court (Ex. 18); the Appellate Division, First
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                                12 Department (Ex. 16.); the Eastern District of New York (Ex. 45); and the Second
                                13 Circuit Court of Appeals (Ex. 12 at dkt #446). Now, after essentially being exiled
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                                14 from New York's state and federal courts, Weissbrod has decided to try her fortunes
                                15 out west, using the California federal courts to continue her nearly two-decade long
                                16 campaign of abuse against Hinshaw and Supple. This Court should not countenance
                                17 yet another baseless attempt to relitigate these matters, as it will only encourage
                                18 Weissbrod to continue harassing Hinshaw and Supple.
                                19                  2.    Final Judgment on the Merits
                                20           The claims Weissbrod raises against Hinshaw and Supple in her complaint
                                21 have been finally decided against her by numerous courts. For example, Weissbrod
                                22 alleges that Cowan and various other defendants have: misappropriated her trade
                                23 secrets,12 infringed on her patents;13 engaged in unfair competition;14 breached
                                24
                                25
                                     12
                                26        Compare Ex. 18 at 10 with Complaint at ¶ 21.
                                     13
                                27        Compare Ex. 45 at 11 with Complaint at ¶¶ 105-107.
                                     14
                                28        Compare Ex. 18 at 10 with Complaint at ¶ 110.

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                                 1 various duties owed to Weissbrod;15 violated the RICO statute;16 and defamed
                                 2 Weissbrod.17 Weissbrod has failed on each of these claims over the years. As
                                 3 regards the federal courts, both the Southern and Eastern Districts of New York
                                 4 have found that Weissbrod's claims are barred by res judicata (Ex. 33 and 45); and
                                 5 the Second Circuit has found that Weissbrod's claims for "misappropriation of trade
                                 6 secrets, unfair competition, and tortious interference with contract" are "time-
                                 7 barred." Gurvey v. Cowan, Liebowitz & Latman, P.C., 462 F.App'x 26, 30 (2d Cir.
                                 8 2012). Thus, Weissbrod's claims are barred here and must be dismissed.
                                 9                  3.    Identity of Privity Between Parties
                                10           Under the collateral estoppel doctrine, privity exists where two parties
                                11 represent the interest of the same entity. In re Dominelli, 820 F.2d 313, 317 (9th Cir.
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                                12 1987); In re Gottheiner, 703 F.2d 1136, 1140 (9th Cir. 1983) (Privity exists when
                                13 there is sufficient commonality of interest). (Reese v. Verizon Cal., Inc. (C.D.Cal.
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                                14 Aug. 11, 2011, No. CV 11-01934 SJO (JEMx)) 2011 U.S.Dist.LEXIS 156748, at
                                15 *10.) In the matters where Weissbrod named Cowan, and not Hinshaw, as a
                                16 defendant, there is identity of privity, because Hinshaw represented Cowan in those
                                17 matters. In the matters where Weissbrod named Hinshaw as a defendant, there is
                                18 identity of privity as Hinshaw represents its own interests. Thus, there is identity of
                                19 privity, and Weissbrod's complaint should be dismissed under the doctrine of res
                                20 judicata.
                                21           C.     The Court Should Enjoin Weissbrod from Filing Further
                                22                  Litigation Against Hinshaw in the Central District Without Prior
                                23                  Leave of Court
                                24           Federal courts can "regulate the activities of abusive litigants by imposing
                                25
                                26   15
                                          Compare Ex. 18 at 10 with Complaint at ¶ 118.
                                27   16
                                          Compare Ex. 45 at 7 with Complaint at ¶ 108.
                                28   17
                                          Compare Ex. 45 at 7 with Complaint at ¶ 112.
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                                 1 carefully tailored restrictions under . . . appropriate circumstances." De Long v.
                                 2 Hennessey, 912 F.2d 1144, 1147 (9th Cir. 1990) (internal quotes omitted). Local
                                 3 Rule 83-8.1 states that "[i]t is the policy of the [Central District] to discourage
                                 4 vexatious litigation and to provide persons who are subjected to vexatious litigation
                                 5 with security against the costs of defending against such litigation and appropriate
                                 6 orders to control such litigation."
                                 7         Pursuant to the All Writs Act, 28 U.S.C. § 1651(a), "enjoining litigants with
                                 8 abusive and lengthy [litigation] histories is one such . . . restriction" that courts may
                                 9 impose." De Long, 912 F.2d at 1147. When district courts seek to impose pre-filing
                                10 restrictions, they must: (1) give litigants notice and "an opportunity to oppose the
                                11 order before it [is] entered"; (2) compile an adequate record for appellate review,
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                                12 including "a listing of all the cases and motions that led the district court to conclude
                                13 that a vexatious litigant order was needed"; (3) make substantive findings of
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                                14 frivolousness or harassment; and (4) tailor the order narrowly so as "to closely
                                15 fit the specific vice encountered." Id.
                                16               1.     Opportunity to Oppose
                                17         This motion is noticed for hearing on October 12, 2023, therefore, Weissbrod
                                18 has ample notice of, and opportunity to object to, the arguments herein. See Molski
                                19 v. Evergeen Dynasty Corp., 500 F.3d 1047, 1058 (9th Cir. 2007) ("In this case,
                                20 Molski had fair notice of the possibility that he might be declared a vexatious
                                21 litigant and have a pre-filing order entered against him because the district court's
                                22 order was prompted by a motion filed by the defendants and served on Molski's
                                23 counsel. Also, Molski had the opportunity to oppose the motion, both in writing and
                                24 at a hearing.").
                                25               2.     Adequate Record for Review
                                26         An "adequate record for review should include a listing of all the cases and
                                27 motions that led the district court to conclude that a vexatious litigant order was
                                28 needed." De Long at 912 F.2d at 1147. Such a record "needs to show, in some

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                                 1 manner, that the litigant's activities were numerous or abusive." Id. In Ringgold-
                                 2 Lockhart, the Ninth Circuit found that the district court had "compiled an adequate
                                 3 record" where it: 1) "discussed and explained the litigation history leading to its
                                 4 order, and appended a list of twenty-one district court rulings, including motions,
                                 5 that it viewed as supporting its order; 2) cited the litigants' "prior federal suit;" 3)
                                 6 cited "the present case;" and 4) referenced the litigants' state-court litigation and
                                 7 appellate decision. Ringgold-Lockhart v. County of Los Angeles, 761 F.3d 1057,
                                 8 1064 (9th Cir. 2014). The statement of facts in this motion similarly details
                                 9 Weissbrod's extensive history of vexatious litigation in the federal and state courts
                                10 of New York, and includes over 50 exhibits to support the statements and arguments
                                11 made herein. Thus, there is more than enough information here for this Court to
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                                12 make an adequate record for review.
                                13                3.     Substantive Findings of Frivolousness or Harassment
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                                14         The district court is required to make “substantive findings as to the frivolous
                                15 or harassing nature of the litigant’s actions” before imposing a pre-filing injunction
                                16 against a litigant. De Long, 912 F.2d at 1148 (citation omitted). This third
                                17 requirement “gets to the heart of the vexatious litigant analysis.” Molski, 500 F.3d at
                                18 1059.
                                19         To make a frivolousness finding, the court must consider “both the number
                                20 and content of the filings.” Id. (citation omitted). The “claims must not only be
                                21 numerous, but also be patently without merit.” Moy v. United States, 906 F.2d 467,
                                22 470 (9th Cir. 1990). The district court must make a finding that the filings were
                                23 frivolous or harassing, but need not find both. De Long, 912 F.2d at 1148.
                                24         For pre-filing attorney sanctions to withstand appellate review, the district
                                25 court must find that such a sanction is justified. Molski, 500 F.3d at 1063.
                                26 “[J]ustifications for imposing a pre-filing sanction on an attorney ‘include the
                                27 attorney’s willful abuse of the judicial process, bad faith conduct during litigation, . .
                                28 . filing frivolous papers[,]’” or “[v]iolations of ethics rules[.]” Id. (quoting

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                                 1 Weissman v. Quail Lodge, Inc., 179 F.3d 1194, 1998 (9th Cir. 1999)).
                                 2         Here, Weissbrod's complaint is blatant and egregious forum shopping. As
                                 3 shown above, Weissbrod has made these same claims in at least 8 other proceedings
                                 4 before at least 5 other courts, including the state courts of New York, the E.D.N.Y,
                                 5 the S.D.N.Y., the Second Circuit, and the Federal Circuit. In each proceeding,
                                 6 Weissbrod's claims have been found meritless. Yet, Weissbrod has repeatedly
                                 7 attempted to re-file and re-litigate them "ad infinitum." (Ex. 12 at dkt #446.)
                                 8 Weissbrod's pattern of abusive and vexatious litigation have led multiple courts,
                                 9 including two federal district courts, to do exactly what Hinshaw asks this Court to
                                10 do—find her vexatious and enjoin her from filing new litigation.
                                11               4.     Narrow Tailoring
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                                12         A pre-filing order “must be narrowly tailored to closely fit the specific vice
                                13 encountered.” De Long, 912 F.2d at 1148. This requirement is important “to
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                                14 prevent infringement on the litigator’s right of access to the courts.” Id. (citation
                                15 omitted). In De Long, the Ninth Circuit rejected as too broad a district court’s order
                                16 enjoining a plaintiff “from filing any further action or papers in this court without
                                17 first obtaining leave of the General Duty Judge of this court.” Id. Such an order had
                                18 “no boundaries,” and was not specifically tailored to the complained-of conduct. Id.
                                19 On the other hand, in Molski, the Ninth Circuit affirmed a pre-filing sanctions order
                                20 against a vexatious litigant’s attorneys that required the attorneys to “seek leave of
                                21 the court before filing any more ADA complaints in the Central District of
                                22 California, and require[d] that the district court’s order in [that] case accompany”
                                23 any such motion for leave. 500 F.3d at 1064. The order was narrowly tailored
                                24 because it “combat[ted] [the attorney’s] practice of repetitive litigation based on
                                25 false allegations of injury” related to ADA violations but did “not make it
                                26 impossible for [the attorneys] to pursue meritorious ADA litigation in the district
                                27
                                28

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                                 1 court.” Id.18
                                 2           Like in Molski, where the attorneys had only shown a propensity for “abusive
                                 3 litigation tactics in connection with litigation under the ADA,” Id. at 1064-65,
                                 4 Hinshaw seeks to prevent Weissbrod from filing further actions arising out of
                                 5 Hinshaw's representation of Cowan in connection to Cowan's prior employment and
                                 6 representation of Weissbrod. Thus, the proposed order is narrowly tailored to
                                 7 prevent Weissbrod's abusive tactics while preserving her ability to file all
                                 8 meritorious litigation.
                                 9                  5.    Safir factors
                                10           In assessing the final two requirements—a finding of frivolousness or
                                11 harassment and narrow tailoring—the Ninth Circuit sometimes consults “a separate
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                                12 set of considerations employed by the Second Circuit Court of Appeals,” as a
                                13 “helpful framework.” Ringgold-Lockhart, 761 F.3d at 1062 (citation omitted). The
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                                14 so-called Safir factors are:
                                15
                                             (1) the litigant’s history of litigation and in particular whether it
                                16
                                             entailed exatious, harassing or duplicative lawsuits; (2) the litigant’s
                                17
                                             motive in pursuing the litigation, e.g., does the litigant have an
                                18
                                             objective good faith expectation of prevailing?; (3) whether the
                                19
                                             litigant is represented by counsel; (4) whether the litigant has caused
                                20
                                             needless expense to other parties or has posed an unnecessary burden
                                21
                                             on the courts and their personnel; and (5) whether other sanctions
                                22
                                             would be adequate to protect the courts and other parties.
                                23
                                24 Id. (quoting Safir v. U.S. Lines, Inc., 792 F.2d 19, 24 (2nd Cir. 1986). "The final
                                25 consideration—whether other remedies ‘would be adequate to protect the courts and
                                26
                                     18
                                27    In Molski, the requirements were met for both the vexatious litigant who
                                   frivolously filed ADA claims and the attorneys who represented him, and the Ninth
                                28 Circuit affirmed similar pre-filing orders against both. Molski, 500 F.3d at 1065.

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                                 1 other parties’ is particularly important.” Id. (quoting Comer v. Kraft Foods N. Am.,
                                 2 Inc., 390 F.3d 812, 818 (4th Cir. 2004)). The first factor has already been
                                 3 adequately addressed, and the remaining four factors favor the granting of this
                                 4 motion.
                                 5        As to the second and third factors, Weissbrod is not the average pro se
                                 6 litigant, and she has not pursued the lawsuit in good faith. Although she's currently
                                 7 suspended, Weissbrod is a trained lawyer. She surely understands the principle of res
                                 8 judicata. Accordingly, she must know that repeated losses in other courts mean that
                                 9 her claims are barred here. And, to the extent she doesn't know it as a result of her
                                10 legal training, numerous courts have spelled out in detail why her claims are barred
                                11 here. Additionally, Weissbrod must also understand the import of the numerous pre-
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                                12 filing orders to which she is subject; she knows that her arguments and tactics have
                                13 been deemed vexatious by multiple courts—yet she refuses to stop.
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                                14        To the fourth factor, Weissbrod almost certainly realizes that her endless
                                15 litigation has caused Cowan, Hinshaw, and her numerous other targets to incur
                                16 thousands upon thousands of dollars in unnecessary legal fees. In fact, that may well
                                17 be the point of this all. Similarly, Weissbrod must know that her voluminous filings
                                18 and failure to abide by the pre-filing orders imposed against her have created an
                                19 administrative nightmare for the courts into which she has dragged her victims.
                                20        Finally, other sanctions would not be adequate to protect this Court and
                                21 Hinshaw. Given Weissbrod's history of abusive litigation, a pre-filing order is the
                                22 bare minimum required to keep her from burying both this Court and the defendants
                                23 under a mountain of baseless, confusing filings that have already been decided
                                24 against her. Without a pre-filing order, Hinshaw will be forced to spend more money
                                25 and time defending itself, yet again, from Weissbrod meritless claims. Thus, the
                                26 Court should enter a pre-filing injunction.
                                27        D.     Weissbrod's Complaint is Prohibited Forum Shopping
                                28        A federal district court may dismiss an action involving concurrent

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                                 1 proceedings in a separate court system in order to conserve judicial resources. Brody
                                 2 v. Hawaiian Airlines, Inc., 2023 U.S. Dist. LEXIS 81616 at *7 (D. Haw. 2023)
                                 3 (filed May 10, 2023) (citing Colorado River Water Conservation Dist. v. United
                                 4 States, 424 U.S. 800, 817 (1976)). This empowers federal courts to dismiss
                                 5 duplicate litigation filed as a means of forum shopping. R.R. Street & Co., Inc. v.
                                 6 Transport Ins. Co., 656 F.3d 966, 979 (9th Cir. 2011). Here, as discussed above,
                                 7 Weissbrod's claims here are the same claims she's made in various other courts since
                                 8 2006. Litigation in those cases is still ongoing, as the above statement of facts
                                 9 reveals. Thus, this is litigation is duplicative and parallel to her still-ongoing
                                10 litigation in other jurisdictions.
                                11         More, this complaint reeks of blatant forum shopping. Weissbrod started her
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                                12 crusade in the S.D.N.Y., then moved to the state courts of New York, then to the
                                13 Second Circuit, then to the E.D.N.Y., then the Federal Circuit. This complaint is
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                                14 nothing more than her attempt to find a court who will allow her to continue to use
                                15 judicial process to harass and abuse Hinshaw.
                                16         Therefore, the Court should dismiss Weissbrod's complaint for obvious forum
                                17 shopping.
                                18 IV.     CONCLUSION
                                19         For the foregoing reasons, Hinshaw requests that Weissbrod's claims against
                                20 Hinshaw be dismissed pursuant to FRCP Rule 12(b)(6).
                                21                                        KLINEDINST PC
                                22
                                23 DATED: September 8, 2023
                                24                                        By:
                                                                                Heather L. Rosing
                                25                                              Ryan S Little
                                26                                              Attorneys for HINSHAW &
                                                                                CULBERTSON, LLP
                                27
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